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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF ILLINOIS


UNITED STATES OF AMERICA,

       Plaintiff,

v.

CARLOS A. JOHNSON,

       Defendant.                                            Case No. 99-cr-30022-9-DRH




                                MEMORANDUM & ORDER


HERNDON, Chief Judge:



               Defendant Carlos A. Johnson has filed a pro se Motion for Retroactive

Application of Sentencing Guidelines to Crack Cocaine Offense, pursuant to 18

U.S.C. § 3582 (Doc. 617) and supporting memorandum (Doc. 618). Administrative

Order No. 1021 was then issued in this case (Doc. 619) and the Office of the Federal

Public Defender (“FPD”) for the Southern District of Illinois was appointed to

represent Defendant in this matter for the purposes of determining whether a


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          Adm inistrative Order No. 102, dated December 19, 2007, instructs the Clerk of the Court
to appoint the Federal Public Defenders Office to represent each defendant who files a m otion for
reduction of sentence based upon the am ended advisory sentencing guidelines regarding the
disparity between sentences for convictions of powder cocaine offenses versus crack cocaine
offenses (see United States Sentencing Guidelines § 2D1.1).

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reduction of sentence pursuant to 18 U.S.C. § 3582 was appropriate. Protocol

implemented by the FPD requires a review of Defendant’s case to determine eligibility

for a sentence reduction and then to either file an amended petition requesting said

reduction if Defendant is determined to be eligible or else a motion to withdraw from

representation if Defendant is found ineligible.

             Defendant pled guilty to Count 1 of the Second Superseding Indictment

(Doc. 162). Count 1 was a drug-related offense which charged Defendant with

conspiracy to distribute and possess with intent to distribute more than 50 grams

of cocaine and cocaine base. Defendant was sentenced in this matter on February

9, 2001, to a total term of 210 months’ imprisonment (Doc. 393).

             Also before the Court is the FPD’s Motion to Withdraw (Doc. 621) on the

basis that the FPD can make no non-frivolous arguments in support of a reduction

pursuant to 18 U.S.C. § 3582(c). See Anders v. California, 386 U.S. 738, 744

(1967). The Court allowed Defendant time to file a response, which he elected to do

(Doc. 626). In his Response, Defendant asked the Court to deny the FPD’s Motion

to Withdraw, and in the alternative, to defer ruling on the motion for no fewer than

45 days but no more than 90 days so that he could have the opportunity to discuss

the motion with his appointed FPD. The Court entered an order deferring its ruling

for a period of 60 days (Doc. 627). Thereafter, the FPD filed a Status Report (Doc.

645), explaining that after conferring with Defendant, its position remained

unchanged and that it still sought to withdraw.



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             The FPD has determined, after review of Defendant’s case, that he is

ineligible for a § 3582 sentence reduction. Section 3582(c)(2) allows the Court to

reduce a defendant’s previously imposed sentence where “a defendant . . . has been

sentenced to a term of imprisonment based on a sentencing range that has

subsequently been lowered by the Sentencing Commission pursuant to 28 U.S.C. §

994(o).” In doing so, the Court must consider the factors set forth in 18 U.S.C. §

3553(a) and must ensure that any reduction “is consistent with applicable policy

statements issued by the Sentencing Commission.” 18 U.S.C. § 3582(c)(2). Thus,

a defendant urging a sentence reduction under § 3582(c)(2) must satisfy two criteria:

(1) the Sentencing Commission must have lowered the applicable guideline

sentencing range, and (2) the reduction must be consistent with applicable policy

statements issued by the Sentencing Commission. If the defendant cannot satisfy the

first criterion, the Court has no subject matter jurisdiction to consider the reduction

request. United States v. Lawrence, 535 F.3d 631, 637-38 (7th Cir. 2008); see

United States v. Forman, 553 F.3d 585, 588 (7th Cir. 2009), cert. denied, 129

S. Ct. 2817 (2009).

             Defendant cannot satisfy the first criterion because he was not

“sentenced to a term of imprisonment based on a sentencing range that has

subsequently been lowered by the Sentencing Commission pursuant to 28 U.S.C. §

994(o).” 18 U.S.C. § 3582(c)(2). Amendments 706 and 711 amended U.S.S.G. §

2D1.1(c) as of November 1, 2007, to lower by two points the base offense levels


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associated with various amounts of crack cocaine. Amendment 715, effective May 1,

2008, further amended the commentary to U.S.S.G. § 2D1.1 by revising the manner in

which offense levels are determined in cases involving crack cocaine in combination

with other controlled substances. The Sentencing Commission amended U.S.S.G. §

2D1.1(c) intending to alter the disparity in sentences involving crack cocaine and

sentences involving powder cocaine. The amendments did not, however, reduce the

sentencing range of defendants whose relevant conduct was 4.5 kilograms or more

of crack cocaine. See Forman, 553 F.3d at 590 (stating that the amendment

“affects only defendants who are responsible for distributing fewer than 4.5

kilograms of crack cocaine”).

             Defendant was sentenced based on relevant conduct that included more

than 4.5 kilograms of crack cocaine – his relevant conduct was found to be 8,064

grams of crack cocaine (or 8.064 kilograms of crack cocaine). Thus, the amendment

did not lower his guideline range, and he cannot satisfy the first criterion under 18

U.S.C. § 3582(c)(2) for obtaining a sentence reduction. The Court lacks subject

matter jurisdiction to consider his reduction request. See Forman, 553 F.3d at

588; Lawrence, 535 F.3d at 637-38. The Court therefore GRANTS counsel’s

Motion to Withdraw (Doc. 621) and DISMISSES for lack of jurisdiction Defendant’s

pro se Motion for Retroactive Application of Sentencing Guidelines to Crack Cocaine

Offense, pursuant to 18 U.S.C. § 3582 (Doc. 617). The Clerk is DIRECTED to mail

a copy of this Order via U.S. mail to defendant Carlos A. Johnson, #05070-025, FCI



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Englewood, Inmate Mail/Parcels, 9595 West Quincy Ave., Littleton, CO 80123.2

               IT IS SO ORDERED.

               Signed this 29th day of October, 2010.
                                                                                    David R. Herndon
                                                                                    2010.10.29 09:49:18
                                                                                    -05'00'
                                                      Chief Judge
                                                      United States District Court




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         Although it is Defendant’s responsibility, as a pro se filer, to keep the Court apprised of
any changes in his m ailing address, the Court notes that the BOP inm ate locator now shows that he
is housed at USP Marion, U.S. Penitentiary, P.O. Box 1000, Marion, IL 62959. The Clerk is also
instructed to mail a copy to Defendant at this new address.

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